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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 20-207 (JRT/HB)

 UNITED STATES OF AMERICA.                        )
                                                  )
                       Plaintiff.                 )
                                                  )
                v.                                )     PLEA AGREEMENT AND
                                                  )     SENTENCING
 ROMELLE DARRYL SMITH,                            )     STIPULATIONS
                                                  )
                       Defendant.                 )

         The United States of America and the defendant, Romelle Darryl Smith, agrce

to resolve this case on the following terms and conditions. This plea agreementbinds

only the defendant and the United States Attorney's Office for the District of

Minnesota. It does not bind any other United         States Afforney's Office or any other

federal or state agency.

         1.    Charges. The defendant       agrees    to plead guilty to Count 1 of     the

Indicffnent, charging the defendant with being a felon in possession of fireaflns as an

Armed Career Criminal, in violation of Title 18, United States Code, Sections

922(e)Q) and924(e)(1). In exchange for the defendant's guilty plea, the United States

agrees   it will not pursue charges for other suspected offenses of which it is currently

aware.

         2.    Factual Basis. The defendant stipulates and agrees to the following

facts and that, were this matter to go to trial, the United States would prove the

following facts beyond a reasonable doubt:

         a.    On July 20, 2020, Minneapolis Police officers stopped the car in which

                                                                                  SEANNED
                                                                                   DEC 16 20tr&
                                                                                                    MPLS
                                                                                U.S. DISTRICT COURT
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the defendant was riding. Believing that the defendant was the suspect in a shooting

investigation, police ordered the defendant out of the car and asked    if   he had any

weapons. The defendant stated that he had something in his pocket. From his right

pants pocket officers removed a handgun, later identified as a Ruger LCP, serial

number 371245666, with a Viridan laser attached ("the Ruger"). The potce

determined the defendant's identity and learned that although he was not the

suspected shooter, he had an outstanding felony warrant and they took him into

custody.


        b.     The Ruger is a "fnenrm" as defined by federal law under 18 U.S.C.

$   921(a)(3) and was manufactured outside the State     of Minnesota. The Ruger
therefore necessarily traveled in or affected interstate or foreign commerce prior to

being in the defendant's possession on July 20,2020, in Minnesota.


        c.     The defendant admits that prior to July 20,2020, he had been convicted

of the crimes listed below and in Count 1 of the Indictment, each punishable by more

than one year in prison. Specifically, ttre defendant has the following felony

convictions:


                                                                         Date of
                                             Jurisdiction of
                 Crime                                                 Conviction
                                              Conviction              (in or about)
         Vehicular Hiiackine             Cook County. Illinois       Februarv 2008
    Asqravated Vehicular Hiiackine       Cook Countv. Illinois       December 2011
                                          Hennepin County,
        Second Degree Assault                                         Jamtary 2017
                                             Minnesota


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The defendant admits that prior to July 20, 2020, he knew he had previously been

convicted of at least one crime punishable by more than one year in prison, and that

he knowingly and voluntarily possessed the Ruger on July 20,2020.


       3.     Conditional Plea and 'Waiver of Pretrial Motions. Pursuant to Rule

It(a)(2) of the Federal Rules of Criminal Procedure, the parties           agree   that the

defendant is entering this guilty plea conditionally, and that the defendant reserves the

right to appeal the District Court's denial of the defendant's Motion to           Suppress

Evidence Derived from Search and Seizure (ECF 30) and contingent Motion to

Suppress Statements, Admissions and Answers (ECF          2S). If the defendant prevails

on appeal in this motion, the parties agree that he may withdraw his plea of guilty. As

to all other pretrial motions filedby the defendant, the defendant knowingly, willingly

and voluntarily waives his right   to appealthe District Court's rulings on such motions

and gives up th.e right to file any additional pretrial motions.

      4.     'Waiver
                       of Constitutional Rights. The defendant understands that the

defendant has the right to plead not guilty and to go to trial.    At trial, the defendant
wouldbe presumed innocent, have the right to trial by jury or, with the consent of the

United States and of the Court, to ffial by the Court, the right to the assistance of

counsel, the right to confront and cross-examine adverse witnesses and subpoena

witnesses to testiry for the defense, the right to testifu and present evidence, and the

right to be protected from compelled self-incrimination. The defendant understands

that the defendant has the right to an attorney at every stage of the proceedings and,   if

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necessary, one       will be appointed to          represent the defendant. The defendant

understands that by pleading guihy, the defendant specifi cally andvoluntarily waives

each of these trial rights, except the right to counsel. The defendant understands that

a guilty plea is a complete admission of guilt and            if the Court accepts the guilty plea,

the Court will find the defendant guilty without attial.

        5.    Statutory Penalties. (a) The govemment believes that the defendant is

subject to enhanced sentencing under the Armed Career Criminal Act (ACCA), 18

U.S.C. $ 924(e). If the Court agrees, Count 1 of the Indicffnent carries the following

statutory penalties:

              1. a maximum term of life imprisonment;
              2.    amandatory-minimum term of            15 years' imprisonment (18 U.S.C.
                    $$ e22(eX   I), e 24(a)(2)   and e 2a@)0D ;

              3.    a supervised release term of not more than 5 years (1S U.S.C.
                    $ 3s83(bX1));

              4.    a fine of up to $250,000 (18 U.S.C. $$ 92a@)Q) and3STL@X3)); and

              5.    amandatory special assessment of $100 (1S U.S.C. g 3013(a)(2XA).

(b) The defendant believes that he is not subject to the ACCA.             If the Court   agrees,

Count   1 of the   Indictment carries the following statutory penalties:


              1. a maximum term of          10 years'     imprisonment;

              2. a supervised-release term of not more than 3 years (18 U.S.C.
                 $$ 3sse(a)(3) and 3s83(b)(2));

              3. a    fine of up to $250,000 (18 U.S.C.        $$   92a@)Q) and357L@)(3)); and

              4. a mandatory special assessment of $100 (18 U.S.C. g 3013(a)(2XA).


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In either case, whether the defendant is or is not subject to the ACCA, neither party

will be able to withdraw from this Plea Agreement on that ground.


      6.     Guidelines Calculations. The parties acknowledge the defendant will

be sentenced in accordance with Title 18, Chapter 227 (18 U.S.C. gg 3551
                                                                            -   3586) and

with reference to the advisory United States Sentencing Guidelines. Nothing in this

plea agteement limits the parties from presenting any relevant evidence to the Court

at sentencing. The parties also acknowledge the Court will consider the United States

Sentencing Guidelines   in determining the appropriate   sentence and stipulate to,the

following Guidelines calculations:

             a.     Base Offense Level. If the defendant is subject to an enhanced
      sentence under the ACCA, the government believes that the base offense level
      is 34 because the defendant possessed the firearm in connection with a
      controlled substance offense. USSG $ 481.4(b)(3)(A). If the defendant is not
      subject to an enhanced sentence under the ACCA, the parties agree that the
      base offense level is 24because the defendant committed the instant offense after
      incurring at least two felony convictions of a crime of violence. USSG
      S2K2.I(a)(2)

            b.      Specific Offense Characteristics. The parties agree that if the
      defendant   is subject to the ACCA, no specific offense         characteristics or
      adjustments apply. The parties also agrce that if the base offense level is not
      determined by USSG $ 481.4(b), the parties will be free to argue for or against
      the application of specific offense characteristics or adjustments at sentencing.

            c.       Chapter Three Adjustments. The parties agree that if the base
      offense level is determined by USSG $ 481.4(b), no Chapter Three adjustments
       apply other than as provided for in Paragraph 6.d. below for acceptance of
      responsibility. The parties also agree that if the base offense level is not
      determined by USSG $ 4B1.4(b), the parties will be free to argue for or against
      the application of specific Chapter Three adjustments (other than acceptance of
      responsibility) at sentencing



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       d.     Acceptance of Responsibilitv. The parties agree that if and only
ifthe defendant (1) provides full, complete andtruthful disclosures to the United
States Probation and Prefiial Service Office, including truthful financial
information; (2) testifies truthfully during the change of plea and sentencing
hearings; (3) complies with this agreement; and @) undertakes no act
inconsistent with acceptance of responsibility before the time of sentencing, the
United States will recommend that the defendant receive a two-level reduction
for acceptance of responsibility under USSG $ 3E1.1(a), and will move for an
additional one-level reduction under $ 3E1.1(b). The defendant understands
that any reduction for acceptance of responsibility shall be determined by the
Court in its discretion.
                                                                        sH c*.1s
       e.     Criminal History Category. The government believes ihe
defendant is criminal history category VI pursuant to USSG g 481.46)@;(cX2),
because he is subject to the ACCA and possessed the firearm in connection with
a conffolled substance offense. If the defendant is not subject to the ACCA,
based on the information currently avarlable, the parties believe the defendant
has a criminal history category of  V. This does not constitute a stipulation, but
a belief based on an assessment of the information currently known. The
defendant's actual criminal history andrelated status will be determined by the
Courtbased on the information presented in the Presentence Report andby the
parties at the time of sentencing. The final determination of the defendant's
criminal history category will not provide either party a basis to withdraw from
the plea agreement.

       f.    Guidelines RanS. ffthe total offense level is 31 (34-3), and the
criminal history category is vI, the advisory Guidelines range is 188-235
months' imprisonment. ussG $ 5G1.1. If the total offense level is zl (24-3),
and the criminal history category is V, the advisory Guidetines range is 70 to 87
months' imprisonment.

       g.      Fine Range. If the total offense level is 31, the applicable fine runge
is $30,000 to $250,000. If the total offense level is 21, the applicable fine rcnge
is at least $15,000 to $150,000. USSG g 5E1.2(c)(3).

       h.    Special Assessnents. The Guidelines require payment of a special
assessment in the amount of $100. USSG $ 5E1.3. The defendant understands
and agrees that this special assessment is due and payable at the time of
sentencing.

       i.    Supervised Release. If the ACCA applies, the Guidelines
provide a supervised release term of at least 2 years but not more than 5 yea$.
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       USSG $ 5D1.2(a)(1). If the ACCA does not apply, the Guidelines provide a
       supervised release term of at least I year but not more than 3 years. USSG
       $ sD1.2(a)(2).


               i.   Sentencing Recommendation and Departures. The parties
      reserve the right to make departure motions and to oppose any such motions
      made by the opposing party. The parties also reserve the right to argue for a
      sentence outside the applicable advisory Guidelines range, subject to any
      mandatory minimum sentence.

       7   .   Discretion of the Court. The foregoing stipulations bind the parties but

not the Court. The parties understand the Sentencing Guidelines are advisory and

their application is a matter falling solely within the Court's discretion. The Court

may make its own determination regarding the applicable Guidelines factors and the

applicable criminal history category. The Court may also departfrom the applicable

Guidelines, except that the Court may not depart below the mandatory-minimum

sentence of 180 months if   it determines the defendant is subject to the ACCA. If the

Court determines the applicable Guidelines calculations or the defendant's criminal

history category are different from that stated above, neittrer partymay withdraw from

this agreement, and the defendant will be sentenced pursuant to the Court's

determinations.

      8.       Special Assessment. The Guidelines require payment         of a special
assessment of $100 for each felony count ofwhich the defendant is convicted. U.S.S.G.

$ 5E1.3. The defendant agees the $100 special assessment is due and payabl,e at

sentencing.




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       9.    Revocation of Supervised Release. The defendant understands that                if
the defendant were to violate any condition of supervised release he could be sentenced

to an additional term of imprisonment up to the length of the original supervised

release term, subject to the statutory maximums set forth         in   18 U.S.C. $ 3583.

       10.   Forfeitures. The defendant          agrees      to forfeit to the United States,
pursuant to 18 U.S.C. 9924(d)(l) and 28 U.S.C.          $   2461(c), the following firearm and

associated accessories and ammunition: Ruger LCP, serial number 37L245666, with a

Viridan laser attached. The defendant agrees that the United States ffi&y, at its option,

forfeit such property through civil, criminal or administrative proceedings, waives any

deadline or statute of limitations for the initiation          of any such proceedings, and
abandons any interest he may have       in the property. He waives all statutory and
constitutional defenses to the forfeiture and consents to the destnrction of the firearms

and ammunition.

       11.   'Waiver of Freedom of Infomation Act
                                                  and Privacy                       Act.   The

defendant agrees to waive all rights to obtain, directly or through others, information

about the investigation and prosecution of this case under the Freedom of Information

Act and the Privary Act of 1974,5 U.S.C.    gg   552, 552A.

      L2.    'Waivers of Appeal
                                and Collateral Affack. The parties understand that

18 U.S.C. S 3742 affords them the right   to   appeal the sentence imposed in this case.

Acknowledgng this right, the defendant hereby waives all rights conferred by                18

U.S.C. S 3742     to   appeal his sentence, unless the sentence exceeds 15 years'


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imprisonment. Additionally, notwithstanding the foregoing waiver, the defendant

retains the right   to   appeal a decision finding the      ACCA applies to his sentence. The

United States waives the right to appeal the defendant's sentence unless it is less than

15 years'   imprisonment. The defendant waives the right to petition under 23 U.S.C.        $

2255 for any claim other than the issue of ineffective assistance of counsel. The

defendant has discussed these rights with his attorney. The defendant understands the

rights being waived, and he waives these rights knowingly, intelligently, and

voluntarily

       13.     Complete Agreement. This, along with any agreement signed by the

parties before enffy of plea, is the entire agreement and understanding between the

United States and the defendant.


9ils412.13.21                                        CHARLES J. KOVATS, Jr.
                                                     Acting United States Afforney

                                                     Sa^a/' {r&ta*
                                                     BY: SARAH E. HUDLESTON
                                                     Assistant United States Attorney

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Dated:      lL'lt'l'U                                       Ko'u*rd amF{tt
                                                     ROMELLE D. SMITH




                                                     GLENN P. BRUDER, ESQ.




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